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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

BRICKLAYERS & TROWEL TRADES                                 )
INTERNATIONAL PENSION FUND, by and through                  )
its Board of Trustees as administered by the Central        )
Collection Unit of the International Union of               )
Bricklayers and Allied Craftworkers                         )
620 F Street, N.W.                                          )
Washington, D.C. 20004,                                     )
                                                            )
                                     Plaintiff,             )
                                                            )
                      v.                                    )
                                                            )
FAXA INC.                                                   )
65-04 Smith Avenue                                          )
North Bergen, New Jersey 07047,                             )
                                                            )
               Serve: Chief Executive Officer               )
                      Francisco Cifuentes                   )
                      65-04 Smith Avenue                    )
                      North Bergen, New Jersey 07047        )
                                                            )
                                     Defendant.             )

                                         COMPLAINT

                    (TO COLLECT CONTRIBUTIONS AND OTHER
                   AMOUNTS DUE TO EMPLOYEE BENEFIT FUND)

       Plaintiff, pursuant to Federal Rule of Civil Procedure 8(a), hereby alleges the following:

                                           PARTIES

       1.      Plaintiff, Bricklayers & Trowel Trades International Pension Fund ("International

Pension Fund") is an employee pension benefit plan as that term is defined in Section 3(1) of the

Employee Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C. § 1002(1). The

International Pension Fund is a multiemployer plan as that term is defined in Section 3(37) of

ERISA, 29 U.S.C. § 1002(37). The International Pension Fund was established and is maintained

in accordance with its Restated Agreement and Declaration of Trust. The International Pension
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Fund is administered at 620 F Street, N.W., in Washington D.C. The members of the Board of

Trustees of the International Pension Fund are fiduciaries as provided in the International Pension

Fund’s Restated Agreement and Declaration of Trust and as defined in Section 3(21) of ERISA,

29 U.S.C. § 1002(21). The Trustees bring this action for the benefit of the beneficiaries of the

International Pension Fund.

       2.       Defendant Faxa Inc. is a New York corporation, registered as a foreign for-profit

corporation in New Jersey, that has an office located at 65-04 Smith Avenue, in North Bergen, New

Jersey. At all times relevant to this action, Faxa Inc. has been an “employer in an industry affecting

commerce” as defined in Sections 3(5), (11), and (12) of ERISA, 29 U.S.C. §§ 1002(5), (11) and (12).

                                 JURISDICTION AND VENUE

       3.       This is an action to collect contributions and other amounts due to an employee

pension benefit plan under the terms of a collective bargaining agreement and trust agreement and for

other appropriate equitable relief. This Court has subject matter jurisdiction under §§ 502(a)(3), (g)

and 515 of ERISA, 29 U.S.C. §§ 1132(a)(3), (g) and 1145, and supplemental jurisdiction pursuant

to 28 U.S.C. § 1367.

       4.       This Court has personal jurisdiction over the Defendant pursuant to Section 502 of

ERISA, 29 U.S.C. § 1132(e)(2).

       5.       Venue is proper in this district pursuant to Section 502(e)(2) of ERISA, 29 U.S.C.

§ 1132(e)(2).

                                              FACTS

       6.       Defendant Faxa Inc. has been bound and signatory at all relevant times to collective

bargaining agreements with International Union of Bricklayers and Allied Craftworkers Local Union




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No. 1 New York (“Collective Bargaining Agreements”), that govern the wages, benefits and terms

and conditions of employment of employees performing work for the Defendant.

       7.       Pursuant to the Collective Bargaining Agreements the Defendant agreed to pay certain

sums of money to the Plaintiff for all hours of work it performed covered by the Collective Bargaining

Agreements.

       8.       During the months of October 2015 through the present, the Defendant performed

work covered by the Collective Bargaining Agreements.

       9.       During the months of April 2017 through the present, Defendant has failed to report

and pay all amounts owing to the Plaintiff as required by the Collective Bargaining Agreements and

the Plaintiff’s Restated Agreement and Declaration of Trust.

       10.      Pursuant to the Plaintiff’s Restated Agreement and Declaration of Trust, the General

Collection Procedures of the Central Collection Unit of the International Union of Bricklayers and

Allied Craftworkers, and Section 502(g)(2)(B) of ERISA, 29 U.S.C. § 1132(g)(2)(B), an employer

who fails to pay required contributions on time is liable for interest at the rate of 15% per annum from

the due date of each monthly payment.

       11.      Pursuant to the Plaintiff’s Restated Agreement and Declaration of Trust, the General

Collection Procedures of the Central Collection Unit of the International Union of Bricklayers and

Allied Craftworkers, and Section 502(g)(2)(C) of ERISA, 29 U.S.C. § 1132(g)(2)(C), an employer

who fails to pay required contributions on time also is liable for an amount equal to the greater of an

additional calculation of interest on the unpaid contributions at the rate of 15% per annum from the

due date of each monthly payment, or liquidated damages in the amount of 20% of the total

contributions owed.




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        12.      Pursuant to the Plaintiff’s Restated Agreement and Declaration of Trust, the General

Collection Procedures of the Central Collection Unit of the International Union of Bricklayers and

Allied Craftworkers, and Section 502(g)(2)(D) of ERISA, 29 U.S.C. § 1132(g)(2)(D), an employer

who fails to pay required contributions is liable for all attorneys' fees, audit fees and costs of collection.

                                                 COUNT I

               (UNREPORTED AND UNPAID CONTRIBUTIONS AND OTHER
                   AMOUNTS OWED TO EMPLOYEE BENEFIT FUND)

        13.      Plaintiff hereby restates and incorporates by reference the allegations set forth in

paragraphs 1 through 12 as if fully set forth in this Count I.

        14.      During the months of January 2019 through the present, the Defendant has failed

to report and pay all contributions owing to the Plaintiff for covered work it performed within

Local 1 NY, cover group 66, which is covered by the Collective Bargaining Agreements.

        15.      Because Defendant has failed to comply with its duty to submit monthly hour

remittance reports, Plaintiff has been required to estimate the amount of contributions due by

Defendant for covered work performed to date.

        16.      The most recent 12 months for which Defendant reported hours to the Plaintiff for

covered work performed in Local 1 NY, cover group 66, was September 2017 through December

2017, and May 2018 through December 2018.

        17.      During these 12 months, Defendant reported a total of 8,983.50 hours, or an average

of 748.62 hours per month for covered work performed in Local 1 NY, cover group 66.

        18.      The applicable contribution rate payable to the Plaintiff for work performed in

Local 1 NY, cover group 66, during the period of January 2019 through June 2019 is $1.13 per

hour.




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         19.      The Defendant therefore owes estimated monthly contributions of $845.94 per

month during each month from January 2019 through the present. Defendant therefore owes the

Plaintiff $5,075.64 ($845.94 x 6 months) in estimated contributions for covered work performed

during January 2019 through June 2019 within Local 1 NY, cover group 66.

         20.      Under the Collection Procedures and ERISA, the Defendant also owes interest at

the rate of 15% per annum from the due date of each monthly payment, and in addition an amount

equal to the greater of an additional calculation of interest on the unpaid contributions at the rate

of 15% per annum, or liquidated damages in the amount of 20% of the total contributions owed.

         21.      By virtue of the failure to pay all amounts as contractually required, the Defendant

is in contravention of the Collective Bargaining Agreements and the obligations under the

Plaintiff’s Restated Agreement and Declaration of Trust, the General Collection Procedures of the

Central Collection Unit of the International Union of Bricklayers and Allied Craftworkers, and

Section 515 of ERISA.

         22.      The Plaintiff is entitled to judgment against the Defendant for all contributions owed,

plus interest owed on unpaid contributions at the rate of 15%, plus an amount equal to the greater of

an additional calculation of interest on the unpaid contributions at the rate of 15% per annum, or

liquidated damages in the amount of 20% of the total contributions owed, plus attorneys' fees and

costs.

         23.      Plaintiff will also seek a judgment in this action against the Defendant for all

contributions, interest, liquidated damages and attorneys’ fees and costs which become due, or are

estimated to be due, subsequent to the filing of this action, during the pendency of this action, and up

to the date of judgment.




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                                              COUNT II

              (UNPAID CONTRIBUTIONS AND OTHER AMOUNTS OWED
           TO EMPLOYEE BENEFIT FUND PURSUANT TO PAYROLL AUDIT)

        24.      Plaintiff hereby restates and incorporates by reference the allegations set forth in

paragraphs 1 through 23 as if fully set forth in this Count II.

        25.      On May 29, 2019, Kobgo Associates, Inc. completed a payroll compliance review

of the records supplied by the Defendant for the period of October 2015 through December 2018

for work performed by the Defendant’s employees under the Collective Bargaining Agreements.

        26.      The results of the audit revealed that during the periods April through July and

October through November 2017, and November through December 2018, the Defendant failed

to pay all contributions owing to the Fund under the Collective Bargaining Agreements in the total

amount of $3,816.00.

        27.      The Plaintiff first became aware of this delinquency as a result of the audit findings.

        28.      As a result of these unpaid contributions being revealed by the audit, the Defendant

also owes a total of $3,720.00 in audit fees.

        29.      By virtue of the failure to pay all amounts as contractually required, the Defendant

is in contravention of the Collective Bargaining Agreements and the obligations under the

Plaintiff’s Restated Agreement and Declaration of Trust, the General Collection Procedures of the

Central Collection Unit of the International Union of Bricklayers and Allied Craftworkers, and

Section 515 of ERISA.

        30.      The Plaintiff is entitled to judgment against the Defendant for all contributions owed

as revealed by the audit, plus interest owed on unpaid contributions at the rate of 15% per annum

from the due date of each payment, plus an amount equal to the greater of an additional calculation

of interest on the unpaid contributions at the rate of 15% per annum from the due date, or liquidated



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damages in the amount of 20% of the total unpaid contributions owed, plus the audit fees and

attorneys' fees and costs.

        WHEREFORE, Plaintiff prays judgment on Counts I and II as follows:

        A.      For estimated unpaid contributions in the amount of $5,075.64, due and owing to the

Plaintiff for work performed during the months of January 2019 through June 2019 in Local 1 NY,

cover group 66, plus interest from the due date of each unpaid monthly contribution payment through

the date of judgment, plus an amount equal to the greater of an additional calculation of interest on

each unpaid monthly contribution payment from the due date of each monthly payment through the

date of judgment, or liquidated damages in the amount of 20% of the total unpaid contributions owed,

as provided for in the Plaintiff’s Restated Agreements and Declarations of Trust, the General

Collection Procedures of the Central Collection Unit of the International Union of Bricklayers and

Allied Craftworkers, and pursuant to 29 U.S.C. § 1132(g)(2).

        B.      For unpaid contributions in the amount of $3,816.00 due and owing to the Plaintiff

for work performed during the months of April through July and October through November 2017,

and November through December 2018 as determined pursuant to the audit, plus $3,720.00 in audit

fees, as provided for in the Plaintiff’s Restated Agreements and Declarations of Trust, the General

Collection Procedures of the Central Collection Unit of the International Union of Bricklayers and

Allied Craftworkers, and pursuant to 29 U.S.C. § 1132(g)(2).

        C.      For interest from the due date of each unpaid monthly contribution payment owed

pursuant to the audit through the date of judgment, plus an amount equal to the greater of an additional

calculation of interest on each unpaid monthly contribution payment owed as determined by the audit

from the due date of each monthly payment through the date of judgment, or liquidated damages in

the amount of 20% of the total unpaid contributions owed as determined by the audit, as provided for




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in the Plaintiff’s Restated Agreement and Declaration of Trust, the General Collection Procedures of

the Central Collection Unit of the International Union of Bricklayers and Allied Craftworkers, and

pursuant to 29 U.S.C. § 1132(g)(2).

       D.      Costs and reasonable attorneys' fees for collection as required by the Collective

Bargaining Agreements, Plaintiff’s Restated Agreements and Declarations of Trust, the General

Collection Procedures of the Central Collection Unit of the International Union of Bricklayers and

Allied Craftworkers, and 29 U.S.C. § 1132(g)(2), up to the date of judgment.

       E.      For such contributions, interest, liquidated damages, and reasonable attorneys’ fees

and costs that may accrue and/or are found to be due and owing to the Plaintiff subsequent to the

filing of this Complaint, during the pendency of this action, and up to the date of judgment.

       F.      Such further relief as the Court deems appropriate.

                                               Respectfully submitted,

Dated: July 30, 2019                           O’DONOGHUE & O’DONOGHUE LLP
                                               5301 Wisconsin Avenue, N.W., Suite 800
                                               Washington, D.C. 20015
                                               Telephone: (202) 362-0041
                                               Facsimile: (202) 237-1200
                                               cgilligan@odonoghuelaw.com


                                       By:     /s/ Charles W. Gilligan
                                               Charles W. Gilligan (Bar No. 394710)
                                               Attorney for the Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Complaint to be

served by certified mail in accordance with the requirements of Section 502(h) of the Employee

Retirement Income Security Act of 1974, 29 U.S.C. § 1132(h) this 30th day of July 2019, on the

following:

                The Office of Division Counsel
                Associate Chief Counsel (TE/GE) CC:TEGE
                Room 4300
                1111 Constitution Avenue
                Washington, DC 20224

                Secretary of Labor
                200 Constitution Ave., N.W.
                Washington, DC 20210

                Attention: Assistant Solicitor for Plan Benefits Security


                                              /s/     Charles W. Gilligan
                                                      Charles W. Gilligan
